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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CRYSTAL BROWN, et al., on Behalf of                 )
 Themselves and a Class of Similarly Situated        )
 Persons,                                            )
                                                     )
                           Plaintiffs,               )    Case No. 17-cv-8085
                                                     )
 COOK COUNTY; AMY CAMPANELLI, in                     )   Judge Matthew Kennelly
 her capacity as Public Defender of Cook             )
 County; and THOMAS DART, in his official            )
 capacity as Sheriff of Cook County,                 )
                                                     )
                          Defendants.                )

   [PROPOSED] ORDER PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT,
      CERTIFYING SETTLEMENT CLASS, APPROVING FORM OF CLASS NOTICE,
     APPOINTING CLASS COUNSEL, CLASS REPRESENTATIVES, AND SETTLEMENT
        ADMINISTRATOR, AND SCHEDULING HEARING FOR FINAL APPROVAL

       Plaintiffs Crystal Brown, Saran Crayton, Samantha Slonim, Celeste Addyman, Erika

Knierim, and Julie Hull (herein “Class Representatives”) have requested that the Court enter an

order preliminarily approving the settlement of this Litigation as stated in the Joint Stipulation of

Settlement and Release (“Settlement” or “Settlement Agreement”), which, together with the

exhibits attached to it, sets forth the terms and conditions for a proposed settlement and dismissal

of the Litigation.

       After having read and considered the Settlement Agreement, the exhibits attached to it, and

the briefing submitted in support of preliminary approval of the Settlement, the Court preliminarily

approves the Parties’ Settlement as fair, reasonable and adequate and Orders as follows:

       1.      The Court finds that notice of the Settlement to Class Members is justified because

the Class Representatives have shown that the Court will likely be able to approve the Settlement
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Agreement under Rule 23(e)(2) and will likely be able to certify the Settlement Class for purposes

of judgment.

         2.     The Court finds that it will likely be able to approve the Settlement Agreement

under Rule 23(e)(2) because the Settlement Agreement is the result of arm’s-length negotiations

between experienced attorneys who are familiar with class action litigation in general and with the

legal and factual issues of this case and who have adequately represented the proposed Settlement

Class.

         3.     The Court also finds that the Settlement Agreement provides adequate monetary

and injunctive relief to the members of the Settlement Class considering the costs, risks, and delay

associated with trial and appeal as well as the effectiveness of the proposed distribution of

settlement payments to Class Members. The Court further finds that preliminary approval of the

Settlement warranted because the proposed Attorneys’ Fees award and proposed Service Payments

are within an appropriate range.

         4.     The Settlement Agreement treats Class Members equitably relative to each other,

as settlement payments will be calculated on a pro rata basis, and will be based on Class Members’

answers to questions to questions in the proposed Claim Form that will be scored by a neutral

third-party Claims Administrator who has previously administered two prior settlements in cases

relating to detainee sexual harassment. The Court approves the proposed plan of allocation as a

fair and reasonable method for calculating and distributing the pro rata settlement payments to the

Class Representative and Class Members.

         5.     With respect to certification for purposes of judgment, the Court finds that it will

likely be able be certify the following Settlement Class pursuant to Fed. R. Civ. P. 23:

         All female assistant public defenders (not including supervisors) and female law clerks
         who have worked for the Defendants for any period of time from November 1, 2015

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        through and including October 28, 2019 and who have visited the jail and/or lockup in
        connection with their employment and whose names appear on the Class List attached to
        the Settlement Agreement as Exhibit 1.

The Court specifically finds that with regard to the Settlement Class under Rule 23, (i) the Class

is so numerous that joinder is impracticable; (ii) common questions of fact and law exist; (iii) the

Class Representatives’ claims are typical of the Class’s claims; and (iv) the Class Representatives

will be able to fairly and adequately protect the interests of the Class. In addition, the Court finds

that, with regard to the Class, questions of law or fact common to the class predominate over

questions affecting individual members, and a class action is superior to other available methods.

Certification of the Settlement Class for settlement purposes is the best means for protecting the

interests of all of the Class Members.

        6.      Robin Potter and M. Nieves Bolaños have served as court approved Class Counsel

since entry of this Court’s class certification order, Doc #218, and this Court approves them

continuing as Class Counsel. The Court also approves Crystal Brown, Saran Crayton, Samantha

Slonim, Celeste Addyman, Erika Knierim, and Julie Hull as Class Representatives.

        7.      The Court approves Eric Schachter and A.B. Data Ltd to act as Settlement

Administrator pursuant to the Settlement Agreement.

        8.      The Court further approves, as to form and content, the Class Notice attached as

Exhibit 2 to the Settlement Agreement to be issued to Class Members and finds that the distribution

of the Class Notice by U.S. Mail: (1) meets the requirements of federal law and due process; (2)

is the best notice practicable under the circumstances; and (3) shall constitute due and sufficient

notice to all individuals entitled thereto.

        9.      A Final Approval Hearing, for purposes of determining whether the Settlement

should be finally approved, shall be held before this Court on _____, 2020 at ___ a.m., in



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Courtroom 2103 of the U.S. District Court for the Northern District of Illinois, Eastern Division,

Everett McKinley Dirksen U.S. Courthouse, 219 South Dearborn Street, Chicago, Illinois, 60604.

At the hearing, the Court will hear final arguments concerning whether the proposed Settlement

of the Litigation is fair, reasonable, and adequate and should be approved by the Court. The Court

will also hear at that time any timely objections submitted by Class Members and shall also

consider Class Counsel’s request for an award of Attorneys’ Fees and Costs and for a Service

Award for the Class Representative.

       10.     Any Settlement Class Member may enter an appearance in the Litigation, at his or

her own expense, individually or through counsel of his or her own choice. Any Class Member

who does not enter an appearance or exclude himself or herself from the Settlement Class will be

represented by Class Counsel.

       11.     Any Class Member may appear at the Final Approval Hearing and show cause, if

any, why: (1) the proposed Settlement of the Litigation should or should not be approved as fair,

reasonable, and adequate; (2) why a judgment should or should not be entered thereon; (3) why

Attorneys’ Fees and Costs should or should not be awarded to Class Counsel; and/or (4) why the

Class Representatives, Named Plaintiffs and certain Class Members should or should not receive

extra compensation in the form of a Service Award set forth in Plaintiffs’ Motion for Preliminary

Approval and the Class Notice. However, no Class Member or any other person shall be heard to

contest any part of the Settlement unless that person has, no later than sixty (60) days after the

initial mailing of the Class Notice to Class Members, served by mail written notice of the Class

Member’s intention to appear at the Final Approval Hearing and written objections and copies of

any papers and briefs in support thereof on the Settlement Administrator and the Clerk of the

Court. The Court will consider and rule upon all timely filed objections at the Final Approval



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Hearing. Any Class Member who does not timely file and serve his or her objection in the manner

provided above shall be deemed to have waived such objection and shall forever be foreclosed

from making any objection to the fairness or adequacy of the proposed Settlement as incorporated

in the Settlement Agreement, any Service Awards, and any award of Attorneys’ Fees and Costs

awarded to Class Counsel, unless otherwise ordered by the Court.

       12.    All papers in support of the Settlement shall be filed no later than seven (7) days

before the Final Approval Hearing.

       13.    At the Final Approval Hearing, the Court shall determine whether the proposed

Settlement, and any application for Service Awards and Attorneys’ Fees and Costs, shall be

approved.

       14.    The Court reserves the right to adjourn the date of the Final Approval hearing

without further notice to the Class Members.



 DATED: ___________________                    _______________________________________
                                               THE HONORABLE MATTHEW F. KENNELLY
                                               United States District Judge




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